              Case 2:18-cr-00009-TLN Document 118 Filed 03/03/20 Page 1 of 3


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 5   E-Mail:       tashachalfant@gmail.com
 6   Attorney for Defendant
 7   RAUL BARAJAS
 8                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9                          EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                        2:18-CR-0009 TLN
12                              Plaintiff,           STIPULATION AND ORDER TO
13                                                   MODIFY CONDITIONS OF
                    v.                               PRETRIAL RELEASE
14
15   RAUL BARAJAS,
16                             Defendant.
17
18
             In February 2018, Mr. BARAJAS was released on conditions and has been
19
     supervised by the Pretrial Services Agency. After consultation with Assistant United
20
     States Attorney Justin Lee and Pretrial Services Officer Darryl Walker, the defense
21
     requests and the government does not oppose, that Mr. BARAJAS’s conditions of pretrial
22
     release be modified as follows.
23
             DELETE the Drug Testing condition (#10 of the Amended Special Conditions of
24
     Release, Dkt. 81).
25
             All other conditions remain in full force and effect.
26
     \\\\\
27
     \\\\\
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            Case 2:18-cr-00009-TLN Document 118 Filed 03/03/20 Page 2 of 3


 1                                           Respectfully submitted,
 2
 3   Dated: March 2, 2020                    /s/Tasha Paris Chalfant
                                             TASHA PARIS CHALFANT
 4
                                             Attorney for Defendant
 5                                           RAUL BARAJAS
 6
     Dated: March 2, 2020                    /s/ Tasha Paris Chalfant for
 7                                           JUSTIN LEE
                                             Assistant United States Attorney
 8                                           Counsel for Plaintiff
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            Case 2:18-cr-00009-TLN Document 118 Filed 03/03/20 Page 3 of 3


 1                                    ORDER
 2
           IT IS SO ORDERED.
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 4
     Dated: March 3, 2020
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